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                    IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

BRADLEY B. MILLER,                       §
                                         §
            Plaintiff,                   §
                                         §
V.                                       §         No. 3:20-cv-759-E
                                         §
VIRGINIA TALLEY DUNN, ET AL.,            §
                                         §
            Defendants.                  §

          ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND
     RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

       The United States Magistrate Judge made findings, conclusions, and a

recommendation in this case. Plaintiff filed objections. The District Court reviewed

de novo those portions of the proposed findings, conclusions, and recommendation to

which objection was made and reviewed the remaining proposed findings,

conclusions, and recommendation for plain error. Finding no error, the Court

ACCEPTS the Findings, Conclusions, and Recommendation of the United States

Magistrate Judge.

       SO ORDERED this 17th day of September, 2020.




                                      _________________________________________
                                      ADA BROWN
                                      UNITED STATES DISTRICT JUDGE
